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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FT. LAUDERDALE DIVISION
  RICHARD ANTHONY FURNO,

            Plaintiff,
  v.

  JPMORGAN CHASE BANK, N.A., a/k/a
  JPMORGAN CHASE BANK, N.A., an Ohio
  Corporation and JPMORGAN CHASE &
  CO., a New York Corporation,

        Defendants.



                                             NOTICE OF REMOVAL

            Defendant, JPMORGAN CHASE BANK, N.A.1 (hereinafter "JPMORGAN"), files this

  Notice of Removal to remove the foregoing cause to the United States District Court for the

  Southern District of Florida, Broward County Division, and respectfully shows this Court the

  following:

                         I. STATEMENT OF THE GROUNDS FOR REMOVAL

                This Notice of Removal is based on diversity jurisdiction pursuant to 28 U.S.C. § 1332

  et seq.

                               II. BASIS FOR DIVERSITY JURISDICTION

            1.       Plaintiff, Richard Anthony Furno ("Plaintiff"), commenced this civil litigation in

  the 17th Judicial Circuit Court in and for Broward County, Florida styled RICHARD ANTHONY

  FURNO v. JPMORGAN CHASE BANK, NATIONAL ASSOCIATION a/k/a JPMORGAN

  CHASE BANK, N.A., an Ohio Corporation and JPMORGAN CHASE & CO., a New York



            1
                JPMORGAN CHASE & CO. was wrongly named in Plaintiff's Complaint.




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  Corporation, CASE NO. CACE 18-006114 (the "Action"). Attached hereto as part of Exhibit "1"

  is a copy of Plaintiff's Complaint.

          2.        JPMORGAN was served with the Complaint on or about March 23, 2018. Attached

  hereto as part of Exhibit "1" is the service proof of said Complaint.

          3.        While the complaint is highly vague and ambiguous, this is an alleged personal

  injury case in which JPMORGAN is alleged to have been negligent because Plaintiff tripped and

  fell due to "uneven concrete" somewhere at the JPMORGAN premises located at 6500 North State

  Road 7 in Coconut Creek, Florida. Plaintiff's complaint alleges a host of legal conclusions centered

  around the "uneven concrete" and that JPMORGAN somehow negligently created or permitted

  the aforementioned dangerous and hazardous condition to remain upon the premises and failed to

  warn Plaintiff of the same.

          4.        On April 17, 2018, in an attempt to determine whether the amount in controversy

  exceeds the jurisdictional limit of $75,000.00 for removal, JPMORGAN served its jurisdictional

  Request for Admissions to Plaintiff, requesting that Plaintiff "Admit the alleged amount in

  controversy for the claims alleged by Plaintiff in the Complaint exceeds $75,000.00, exclusive of

  interest and costs." Attached hereto as Exhibit "2" is a true and correct copy of Defendant's Request

  for Admissions to Plaintiff dated April 17, 2018.

          5.        On April 18, 2018, Plaintiff responded to JPMORGAN's Request for Admissions

  with improper objections and without admitting or denying whether the alleged amount in

  controversy exceeds $75,000.00. Attached hereto as part of Exhibit "2" is a true and correct copy

  of Plaintiff's Response to Defendant's Request for Admissions.

          6.        On May 2, 2018, JPMORGAN sent Plaintiff's counsel a correspondence providing

  notice of the intent to remove and an accompanying Joint Stipulation of Alleged Damages for




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  signing by Plaintiff's counsel. Undersigned counsel further prepared the proposed Joint Stipulation

  of Alleged Damages for signing by Plaintiff's counsel and enclosed the same with its

  correspondence advising Plaintiff of its intention to remove the matter. Attached hereto as Exhibit

  "3" is the May 2, 2018 correspondence and proposed Joint Stipulation of Alleged Damages for

  signing by Plaintiff's counsel. One of the main basis of the Joint Stipulation was to cap alleged

  damages and thus preclude removal of this matter to federal court.

          7.        On May 16, 2018, a hearing was held on Plaintiff's Objections to Defendant's

  Request for Admissions. The Court entered an Order stating that Plaintiff's objections were

  overruled and that "Plaintiff shall answer Request for Admission #1 and #2."2 Attached hereto as

  part of Exhibit "2" is the May 16, 2018 Court Order.

          8.        Attached hereto as part of Exhibit "2" is Plaintiff's Amended Response to

  Defendant's Request for Admissions filed on May 18, 2018, where Plaintiff failed to admit or deny

  request for admissions #1 and #2 as follows:

          Plaintiff is unable to admit or deny the truth of this request because it is directed
          toward a central issue of fact in the case which will ultimately be determined by the
          jury based on the evidence admitted trial. This request attempts to create a
          jurisdictional fact by improperly usurping the province of the jury and asking
          Plaintiff to speculate what a jury may or may not award in non-economic damages.
          Plaintiff will not know whether his "total damages" exceed $75,000.00 until the
          trial of the matter is heard and a jury award is rendered.

          Plaintiff is unable to admit or deny the truth of this request as being directed toward
          the amount of damages that the Plaintiff should be compensated for the accident
          related injuries. The award of damages will be determined by the jury.

          9.        A review of Plaintiff s Amended Responses to Defendant's Request for Admissions




          2
           Request for Admissions #1 and #2 requested that Plaintiff admit or deny that the amount
  in controversy exceeds the jurisdictional threshold of $75,000.00



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  revealed that Plaintiffs responses to request for admissions #1 and #2 remained almost entirely

  unchanged from the initial Response, with the exception of the objections, which were overruled.

  Specifically, Plaintiff responded that it will not know whether its "total damages" exceed

  $75,000.00 until the trial of the matter is heard and a jury award is rendered.

          10.       JPMORGAN was thus left with no choice but to file a Motion to Compel Better

  Responses to Request for Admissions. Attached hereto as part of Exhibit "4" is a true and correct

  copy of Defendant's Motion to Compel Better Responses to Request for Admissions dated May

  30, 2018.

          11.       On June 28, 2018, a hearing was held on Defendant's Motion to Compel wherein

  the Court entered an Order denying Defendant's Motion. Plaintiff's inability to know whether the

  amount in controversy would exceed $75,000.00 served as the grounds for the denial. Attached

  hereto as part of Exhibit "4" is the June 28, 2018 Court Order.

          12.       On the same day as the hearing on Defendant's Motion to Compel, June 28, 2018,

  Defendant served its Request for Production to Plaintiff, requesting medical records related to

  Plaintiff's treatment as a result of the alleged incident that is the subject of Plaintiff's Complaint.

  Attached hereto as Exhibit "5" is Defendant's Request for Production.

          13.       On August 6, 2018, Plaintiff filed its Response to Defendant's Request for

  Production, however, Plaintiff failed to include the documents cited to in its Response. Attached

  hereto as part of Exhibit "5" is Plaintiff's Response to Defendant's Request for Production.

          14.       On August 8, 2018, Plaintiff provided Defendant with the aforementioned

  documents which included medical records and bills demonstrating that Plaintiff’s purported

  damages claim is in excess of $75,000. Attached hereto as Exhibit "6" are the redacted medical

  bills and records sent by Plaintiff in Response to Defendant's Request for Production.




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          15.       Plaintiff's Complaint states only that Plaintiff seeks damages in excess of the

  jurisdictional limits of the Florida Circuit Court. The damages available to Plaintiff, if he prevails,

  are not limited in any fashion, however. Plaintiff alleges that as a result of the alleged negligence,

  he "suffered pain therefrom; suffered physical handicap; suffered disfigurement; suffered mental

  pain and suffering; suffered loss of income in the past and will do so in the future, loss for the

  capacity for the enjoyment of life; incurred medical expenses for the care and treatment of his

  injuries; said injuries are permanent and are continuing in nature, and the Plaintiff will continue to

  suffer these losses and impairments in the future."3 In summary, the limited medical records

  received to date indicate that Plaintiff allegedly sustained the following severe injuries as a result

  of the subject incident: (1) partial tear of posterior cruciate ligament; (2) partial tear of femoral

  attachment; (3) cervical spondylosis; and (4) left knee partial lateral meniscectomy, patellofemoral

  chondroplasty and partial synovectomy. See attached, as Exhibit "6" Plaintiff's redacted medical

  records demonstrating medical expenses and injuries supporting Plaintiff’s alleged damages’ claim

  in excess of $75,000.00.




          3
            Plaintiff sent a pre-suit Demand Letter to Defendant dated December 19, 2016,
  requesting $285,000.00 for the full settlement of the claim, citing to Plaintiff's "past and future
  medical bills, and pain and suffering," as a basis for the settlement amount, further demonstrating
  that Plaintiff’s purported damages claim is in excess of $75,000.00. However, Plaintiff failed to
  include any medical records or bills in support of the settlement demand, thus making it insufficient
  for removal purposes. Although demand letters can be used as other papers under 28 USC
  §1446(b), they are not determinative. Golden v. Dodge-Markham, Co., Inc., 1 F.Supp.2d 1360,
  1366 (M.D. Fla. 1998). This is because courts have reasoned and recently held that demand letters
  are generally puffery and posturing and are insufficient to prove the amount in controversy by a
  preponderance of the evidence. Jenkins v. Myers, Case No.: 8:16-cv-00344-EAK-EAJ (M.D. Fla.
  Jul. 27, 2016). The Court noted in a recent case that settlement demands should be approached
  with skepticism. Jackson v. Select Portfolio Servicing, Inc., No. 08-0628, 2009 WL 2385084, at
  *1 (S.D. Ala. July 31, 2009). As it applies to this case, Plaintiff's demand letter is simply puffery.
  Defendant thus filed this Notice only after receiving the supporting medical records.



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          16.       Florida jury verdict searches, attached as Exhibit “7”, for similar injuries consisting

  of a torn cruciate ligament requiring surgery demonstrate that the verdict awards exceed the

  amount in controversy requirement of $75,000.00. See Allision vs. Kendall Sports Bar, Inc., 2009

  FL Jury Verdicts Review LEXIS 2855 (Broward County 2009) ($79,635 verdict for personal

  injuries consisting of a tear of the cruciate ligament of the knee, recommended surgery, and pain

  and suffering); John C. Douglass v. Streamline Hotel, Inc., a corporation of the State of Florida,

  and Richard P. Postlewai, 2014 Jury Verdicts LEXIS 4978 (Volusia County 2014) ($86,157

  verdict for Plaintiff for injuries consisting of tear of the cruciate ligament, loss of earnings, and

  pain and suffering). See Exhibit “7” jury verdict search.

          17.       Florida jury verdict searches, attached hereto as "Exhibit 8", for similar injuries

  consisting of a torn meniscus reveal that the verdict awards greatly exceed the amount in

  controversy requirement of $75,000.00. See Julia-Emilia Ilie v. NCL (Bahamas) Ltd., Case No.

  05-16592 CA 11, Miami-Dade County, 2008 (Plaintiff was awarded $173,400.00 for only a torn

  meniscus that required surgery. The award included $1,400.00 for past lost wages; $50,000.00 for

  past pain and suffering; $72,000.00 for future surgery; and $50,000 for future pain and suffering);

  Casanova v. Wal-Mart Stores, Inc., Case No. 04-8579 CA 04, Miami-Dade County, 2005 (Plaintiff

  was awarded $144,000.00 for only a torn meniscus. The award included $30,000.00 for past

  medical expenses; $40,000.00 for future medical expenses; and $70,000.00 for past pain and

  suffering); Morand v. Carli, Case No. 01-06-CA-29-J, Alachua County, 2008 (Plaintiff was

  awarded $299,215.00 for a lumbar herniation, requiring surgery, and a torn meniscus also requiring

  surgery. The award included $160,000.00 for past pain and suffering and $41,760.00 for future

  pain and suffering). See Exhibit "8" jury verdict searches.




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          18.       The time for removal did not begin to run until August 8, 2018, when Defendant

  received the medical bills and records from Plaintiff in response to Defendant's Request for

  Production evidencing medical treatment that exceeds the jurisdictional threshold of $75,000.00.

  See 28 USC § 1441; Austin v. Harbour Behavioral Health Care Inst., No. 5:07-cv-173-Oc-10GRJ,

  2007 WL 2050912 (M.D. Fla. 2007) (Where the basis for federal jurisdiction does not appear in

  the initial pleading, but arises subsequently, the defendant must file a notice of removal within

  thirty days after receipt by Defendant of a motion or "other paper" from which it may be first

  ascertained the case is one which is or has become removable); and Murchison v. Progressive

  Northern Ins. Co., 564 F. Supp. 2d 1311 (E.D. Okla. 2008) (holding that the denial of a request

  for admission was "other paper" under the meaning of § 1446(b).

          19.       Defendant seeks removal to the Southern District of Florida, Fort Lauderdale

  Division, the District in which the action is now pending.

          20.       Following the filing of this Notice with this Court, written notice of the filing of

  same will be provided to the attorney for Plaintiff as required by law.

          21.       Following the filing of this Notice with this Court, a true and accurate copy of the

  same will be filed with the Clerk of Court of the 17th Judicial Circuit Court in and for Broward

  County, Florida as required by law.

          22.       Attached to this Notice as Exhibits are all true and legible copy of all process,

  pleadings, orders and other papers or exhibits of every kind on file in the State Court.

          23.       This Court has removal jurisdiction of this action under the provisions of Title 28

  of the United States Code, § 1441(a). This Court has original jurisdiction of this action under the

  provisions of Title 28 of the United States Code, § 1332.




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            24.     Plaintiff is a citizen of Florida and the Defendant JPMORGAN is a National

  Association with its principal place of business located at 111 Polaris Parkway in Columbus, Ohio.

  JPMORGAN is therefore a citizen of the state of Ohio.

            25.     Accordingly, there is complete diversity of citizenship between the actual and real

  parties, the requirements of 28 U.S.C. § 1441(b) have been met since Defendant is not a citizen of

  Florida, the State in which this action was brought. Thus, this Court has removal jurisdiction on

  the face of the Amended Complaint based upon diversity of citizenship.

                                                 III. CONCLUSION

            The amount in controversy exceeds $75,000.00, exclusive of interest and costs. Complete

  diversity exists because Plaintiff is a citizen of Florida and Defendant JPMORGAN is a citizen of

  Ohio. Accordingly, Defendant JPMORGAN respectfully request that this action proceed in this

  Court as an action properly removed pursuant to 28 U.S.C. § 1332, et seq., and 28 U.S.C. § 1441,

  et seq.

                                                         /s/ Michael A. Garcia
                                                         Michael Alexander Garcia
                                                         Fla. Bar No. 0161055
                                                         Email: mgarcia@fowler-white.com

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                                          CERTIFICATE OF SERVICE

          I hereby certify that on August 16, 2018, the foregoing document was electronically filed

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record on the attached Service List in the manner specified, either

  via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                                               s/ Michael A. Garcia
                                                               Michael A. Garcia




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                                                   SERVICE LIST

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